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 4   Attorneys for DAVID HARRISON
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                  No. CR S-04-118-LKK
                                         )
 9                     Plaintiff,        )
                                         )                  STIPULATION AND ORDER
10                                       )                  CONTINUING THE STATUS
           v.                            )                  CONFERENCE SET FOR
11                                       )                  JANUARY 18, 2006 TO
     DAVID HARRISON,                     )                  FEBRUARY 14, 2006 AT 9:30 A.M.
12                                       )
                       Defendant.        )
13   ____________________________________)
14          The defendants, David Harrison, Edwin Jensen, and Rob Hodges, by and through their
15   undersigned attorneys, and the United States, through its undersigned attorney, hereby stipulate that
16   the status conference set for January 18, 2006 at 9:30 a.m., before this Court should be rescheduled
17   for February 14, 2006 at 9:30 a.m., and in support of this stipulation would show the Court that Mr.
18   Locke is in trial in El Dorado County for two weeks, Mark Reichel is in Washington D.C,.making
19   an argument before the Supreme Court, and Emmett Mahle is in a murder trial in Sacramento County
20   and the defense is in the process of conducting additional investigation of the financial transactions
21   involved in this case, including attempting to obtain financial records from the various law firms that
22   were used by Mr. Rob Oliver to conduct the fraud that the government has charged Mr. Harrison,
23   Mr. Jensen, and Mr. Hodges with. This additional investigation is vital to the defense because it will
24   tend to demonstrate that Mr. Harrison, Mr. Jensen, and Mr. Hodges were unknowing participants
25   in Mr. Oliver’s fraud. The continuance of the status conference is necessary for continuance of
26   counsel and for defense preparation.
27          The parties request that the Court exclude time under the Speedy Trial Act from January 18,
28
29                                                     1
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 1   2006 to February 14, 2006 pursuant to 18 U.S. C. Section 3161(h)(8)(B)(iv) (or local code T4). Mr.
 2   Reichel, Mr. Mahle, and Mr. Vincent have all authorized Bruce Locke to sign this pleading for them.
 3
 4   DATED: January 13, 2006                      _______/S/__________________________
                                                  BRUCE LOCKE for himself, for MARK REICHEL,
 5                                                and for EMMETT MAHLE
 6
 7
 8
     DATED: January 13, 2006                      _______/S/ - BRUCE LOCKE__________
 9                                                For John Vincent
                                                  Assistant United States Attorney
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11
     IT IS SO ORDERED:
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     DATED: January 17, 2006                      /s/ Lawrence K. Karlton
14                                                HONORABLE LAWRENCE K. KARLTON
                                                  Senior, UNITED STATES DISTRICT JUDGE
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